5/2/2019

Image (19).jp

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Statement of John Curtis Love

My name is John Curtis Love. I am the father of Justin Love. I reside at 365 Marion
Avenue in Westville grove, New Jersey.

The dogs, cages and other items that were seized by the agents pursuant to the search
warrant were actually on an adjacent property with the address of 359 Marion Avenue. I do not
own that property. There is a fence that separated that property from my property. The ae
extended two-thirds of the property line.

There were six dogs on that property (359 marion ave).There was two adults and four
puppies. Originally, there were six puppies, but Justin had already given away two of them to
other people . The four puppies that were left had been given by Justin to his two sons and his
two nephews. Two of his nephews reside at a adjacent property next to where the puppies were
confiscated. The puppies were well fed and cared for and their cages were clean. (The attached
photograph had been taken about one week before the raid.)

None of the puppies had been bred for dog fighting.

On the property was a 26 ply board strip about 5 % feet long with a plywood base and
carpet on the base and top. The government presented testimony that the support pole used for
training dogs and called a flirt pole. It was not; instead, it was a support beam that is used to
support shrink wrap and winterize my boat in my yard. I hired a professional shrink wrapper, he
constructed the support beam and place it inside the boat.I previously unwrap the boat prior to
the raid. The support beam the government allege was a flirt Pole was actually a support beam
used in the process of the boat being shrink wrapped for outdoor winter storage.

On the property there were also several old batteries from boats that I own. None of the
batteries had ever been used for any other purpose then the purpose intended. I'm the owner of
several boats. There was a lot of marine / boating paraphernalia on the property.

@ On the property were needles and syringes that was confiscated during the raid.
I'm the owner of a Lap dog and a German Shepherd. The needles was used to give
my dogs shots.I would go to the local pet shop and purchase shots for my
dogs.The needles and shot were used for any of my animals that needed shots in
order to be in compliance with local township ordinances. During trial there was
allegations that there was steroids at this property. There was not any steroids.
Any needle or vials found on that property was obtained lawfully at a animal
Supply center.

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On the property adjacent to my property there was a lock with a chain that i had probably
over 30 years. I have a lot of chains on my property. In my garage there's several chains as well.
A lot of these chains are used for towing cars,my trucking business, locking up dirt bikes, pulling
boats, hoisting Motors, and other Daily uses. The chains and locks was never used on any other
purpose other then it was attended for.

I absolutely deny making any statements about dog fighting to any agent on the day of
the search. I do not condone or participate in any barbaric Behavior. I've been a animal lover my
whole life. I've owned horses,sheep,goats,dogs and other farm animals. I have and always will be
a advocate for animals.

I would have testified to all of the above facts at trial, even after I met with Stanley King,
Esquire at the suggestion of the government. However, Mr. Powell refused to call me as a
witness.

Curtis Love

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